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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

               Plaintiff,

       v.                                     Case No. 6:15-CV-232-RWS-JDL

 VIMEO, LLC,

               Defendant.




            MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
                       PURSUANT TO 35 U.S.C. § 101
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 I.     INTRODUCTION

        Defendant Vimeo, LLC (“Vimeo”) moves to dismiss this patent infringement action

 because Plaintiff Rothschild Broadcast Distribution Systems, LLC has failed to state a claim

 upon which relief can be granted. Specifically, the claims of Plaintiff’s sole asserted patent, U.S.

 Patent No. 8,856,221 (the “’221 Patent”), are invalid under 35 U.S.C. § 101 as drawn to patent-

 ineligible subject matter—the abstract idea of storing and delivering media content.

        The ’221 Patent, entitled “System and Method for Storing Broadcast Content in a Cloud-

 Based Computing Environment,” generally describes a process in which one receives a request

 for media content (for example, a video), determines whether the video is available, and, if so,

 delivers it to the person who requested it. This rote inventory checking, retrieval, and delivery

 procedure describes nothing beyond an abstract idea and could be performed by any video rental

 store employee who, at a customer’s request, checks whether a particular video is in stock and, if

 so, provides it to the customer. The ’221 Patent’s effort to computerize this everyday process of

 the retail world falls far short of adding an inventive concept that would set any meaningful

 bounds on the ’221 Patent’s purported monopoly of the abstract idea of storing and delivering

 media content. Accordingly, the patent is invalid.

        Indeed, patents covering far more sophisticated business methods have been declared

 invalid by the Supreme Court, the Federal Circuit, and this Court. See, e.g., Alice Corp. v. CLS

 Bank Int’l, 134 S. Ct. 2347, 2352 (2014) (invalidating patent covering abstract idea of

 computerized settlement intermediation); Ultramercial, LLC v. Hulu, LLC, 772 F.3d 709, 711-12

 (Fed. Cir. 2014) (invalidating patent covering abstract idea for ad-supported media delivery

 system); Clear With Computers, LLC v. Altec Indus., Inc., No. 6:14-cv-79, 2015 WL 993392, at

 *1, *4 (E.D. Tex. Mar. 3, 2015) (invalidating patent involving “abstract idea of creating a



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 customized sales proposal for a customer”); Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc.,

 No. 2:13-CV-655, 2014 WL 4364848, at *7, *14 (E.D. Tex. Sept. 3, 2014) (Bryson, J., sitting by

 designation) (invalidating patent that set forth “the general concept of currency exchange, as

 applied to loyalty awards”); Clear with Computers, LLC v. Dick’s Sporting Goods, Inc., 21 F.

 Supp. 3d 758, 761, 765 (E.D. Tex. 2014) (invalidating patent involving “abstract idea of

 inventory-based selling”).

         The ’221 Patent’s claims are drawn to patent-ineligible subject matter and thus are

 invalid under 35 U.S.C. § 101. Therefore, this Court should dismiss Plaintiff’s complaint for

 failure to state a claim.

 II.     STATEMENT OF THE ISSUE

         Whether the ’221 Patent’s claims—for systems and methods for storing and delivering

 media content—are directed to an abstract idea and, therefore, ineligible for a patent under

 Section 101 of the Patent Act, 35 U.S.C. § 101.

 III.    BACKGROUND

         A.      Plaintiff’s Complaint

         On March 19, 2015, Plaintiff filed its complaint for patent infringement against Vimeo.

 Separately, Plaintiff filed similar suits in this Court against nine other companies, asserting the

 same patent. 1 All ten cases have been assigned to Judge Schroeder. No case management order

 has issued in any of the cases.




 1
   These cases are: Comcast Corp., 6:15-cv-226; Discovery Communications, Inc., 6:15-cv-227;
 NGC Networks US, LLC, 6:15-cv-228; Univision Communications, Inc., 6:15-cv-229; UStream,
 Inc., 6:15-cv-230; VBrick Sys., Inc., 6:15-cv-231 (dismissed by stipulation); Vudu, Inc., 6:15-cv-
 233; Wistia, Inc., 6:15-cv-234 (notice of voluntary dismissal filed); and Crunchyroll, Inc., 6:15-
 cv-238.


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        Plaintiff claims to own or have the right to enforce the ’221 Patent. Compl., Dkt. No. 1

 ¶ 7. Plaintiff asserts that the ’221 Patent’s claims relate to a “‘system for media content storage

 and delivery’ comprising a variety of features” and a “‘method for storing media content and

 delivering requested media content to a consumer device.’” Id. ¶¶ 10, 12 (quoting ‘221 patent,

 claims 1 and 7). Plaintiff further asserts that Vimeo’s systems “are ‘a system for media content

 storage and delivery’” and that Vimeo “practices a ‘method for storing media content and

 delivering requested media content to a consumer device.’” Id. ¶¶ 11, 13 (quoting ‘221 patent,

 claims 1 and 7).

        B.      The ’221 Patent

        The ’221 Patent issued on October 7, 2014 and was initially assigned to its inventor,

 Leigh M. Rothschild. Compl., Dkt No. 1, ¶ 7. The ’221 Patent claims priority to a provisional

 application filed on August 29, 2011. ’221 Patent 1:8-17.

        The ’221 Patent’s abstract states that the patent covers “[a] system, method and device

 for media content storage and delivery,” and that the invention relates to the field of “on-demand

 storage and delivery of media content.” Id. 1:25-27. The “background” section of the ’221

 specification states that “[t]he widespread growth of communication networks and internet

 enabled consumer devices allow consumers to stream on-demand videos and music.” Id. 1:31-

 33. The specification continues:

        The on-demand video and music service is typically provided by large companies
        or second party distributors that store the media content for streaming to the
        consumer devices. For example, a television company may maintain a television
        server that stores all television shows that are broadcast by the television company
        such that the consumer may stream the stored television show on the consumer
        device. This requires the television company to store all or substantially all the
        shows broadcast by the television company, which requires a great deal of data
        storage and often comes at a significant cost to the television company.

 Id. 1:33-44.



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         According to the specification, the innovation suggested by the ’221 Patent is a system or

 method by which a broadcaster could store content that is most frequently requested by

 consumers on a “broadcast server” while keeping its entire programming catalog on a “remote

 server” (where, presumably, it costs less to store content). Id. 3:47-49. If a consumer requests

 content that is already on the broadcast server, the system can deliver the content immediately.

 If the consumer requests content that is only on the remote server, the system can put the content

 in a queue for release onto the broadcast server for delivery to the consumer. But the issued

 claims, which control here, are not so limited, and broadly suggest an even more abstract

 concept—a system “configured to receive a request” for “storage” or “delivery” of “media

 content” that is “further configure[d] to initiate delivery of the requested media content to the

 consumer device.” E.g., id. 10:44-67.

         The ’221 Patent contains 13 claims—two of which (claims 1 and 7) are independent

 claims. Both independent claims are directed to the same general idea of, upon a consumer’s

 request, checking to see whether an item of media content is available, and both claims feature

 nearly identical limitations (as italicized):

  1. A system for media content storage and            7. A method for storing media content and
  delivery, the system comprising:                     delivering requested media content to a
                                                       consumer device, the method comprising:
   a first server, the first server including:
     a first receiver, the first receiver configured    receiving a request message including
     to receive a request message including             media data indicating requested media
     media data indicating requested media              content and a consumer device identifier
     content and a consumer device identifier           corresponding to the consumer device;
     corresponding to a consumer device; and
     a first processor in communication with the        determining whether the consumer device
     first receiver, the first processor configured     identifier corresponds to a registered
     to determine whether the consumer device           consumer device; and
     identifier corresponds to a registered
     consumer device;




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     if the first processor determines that the       if it is determined that the consumer device
     consumer device identifier corresponds to        identifier corresponds to the registered
     the registered consumer device, then:            consumer device, then:

       the first processor is further configured to    determining, whether the request message
       determine whether the request message is        is one of a storage request message and a
       one of a storage request message and a          content request message; and
       content request message;
     if the request message is the storage request    if the request message is the storage request
     message, then the processor is further           message, then determining whether the
     configured to determine whether the              requested media content is available for
     requested media content is available for         storage; and
     storage; and
     if the request message is the content request    if the request message is the content request
     message, then the processor is further           message, then initiating delivery of the
     configured to initiate delivery of the           requested media content to the consumer
     requested media content to the consumer          device;
     device;
     wherein the media data includes time data        wherein the media data includes time data
     that indicates a length of time to store the     that indicates a length of time to store the
     requested media content; and                     requested media content; and
     the first processor is further configured to     the first processor is further configured to
     determine whether the requested media            determine whether the requested media
     content exists; and                              content exists; and
     if the processor determines that the             if the processor determines that the
     requested media content exists, the              requested media content exists, the
     processor is further configured to               processor is further configured to determine
     determine whether the requested media            whether the requested media content is
     content is available and whether there are       available and whether there are restrictions
     restrictions associated with the requested       associated with the requested media content
     media content that prevent the requested         that prevent the requested media content
     media content from being delivered to the        from being delivered to the consumer
     consumer device.                                 device.

         The eleven dependent claims (claims 2-6, 8-13) add insubstantial limitations to the

  corresponding independent claims 1 and 7:

            •   Providing a message confirming that requested media content is available for
                storage (claims 2, 8).

            •   Providing a message prompting a user to register a consumer device (claim 3).

            •   Providing memory to store consumer user data including consumer device data
                (claims 4, 9).



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             •   Verifying that a consumer device identifier is associated with a particular
                 consumer (claims 5, 11).

             •   Transmitting requested media content after verifying that a consumer device
                 identifier corresponds to a registered consumer device (claim 6).

             •   Informing the consumer of the cost of the requested media content (claim 12) and
                 doing the same where the cost does not vary based upon the number of times the
                 content is delivered (claim 13).

         The ’221 Patent reflects no invention of any new software or hardware. Instead, the

  claimed systems and methods operate with well-known computer components. The patent states

  that the purported invention can be put into practice using “[a]ny kind of computing system,” and

  that “[a] typical combination of hardware and software could be a specialized or general purpose

  computer system.” Id. 10:12-19. A consumer device “may include wired or wireless devices

  such as mobile phones, personal digital assistant devices, personal computers, laptop computers,

  tablet computers, digital video recorders, televisions, digital versatile disc players, among other

  devices that may communicate via network.” Id. 3:56-60. The processors may include a

  “central processing unit (CPU) for executing computer program instructions stored in memory,

  as is well known in the art.” Id. 3:65-67. “Memory may include non-volatile and volatile

  memory.” Id. 4:1-3. Non-volatile memory “may include a hard drive, memory stick, flash

  memory and the like,” and “volatile memory may include random access memory and others

  known in the art.” Id. 3:3-5. The various items of hardware communicate “via network using

  communication protocols known in the art, e.g., Internet Protocol.” Id. 3:50-52.

  IV.    LEGAL STANDARDS

         To survive a Rule 12(b)(6) motion, a complaint “must provide the plaintiff’s grounds for

  entitlement to relief—including factual allegations that when assumed to be true raise a right to

  relief above the speculative level.” Cuvillier v. Sullivan, 503 F.3d 397, 401 (5th Cir. 2007)

  (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)) (internal quotation marks


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  omitted). In deciding a Rule 12(b)(6) motion, courts may consider facts alleged in the complaint

  as well as documents attached to or incorporated into the complaint. See Lovelace v. Software

  Spectrum, 78 F.3d 1015, 1017 (5th Cir. 1996). Although factual allegations are taken as true,

  this principle “is inapplicable to legal conclusions.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

         Whether a patent is drawn to patentable subject matter is an appropriate issue for a

  motion to dismiss. See, e.g., Ultramercial, LLC v. Hulu, LLC, 772 F.3d 709, 711-12 (Fed. Cir.

  2014) (“[W]e conclude that the ‘545 patent does not claim patent-eligible subject matter and

  accordingly affirm the district court’s grant of WildTangent’s motion to dismiss.”); In re Bilski,

  545 F.3d 945, 950 (2008) (patent eligibility is “a threshold inquiry” for court to decide), aff’d,

  Bilski v. Kappos, 561 U.S. 593 (2010); Clear with Computers, LLC v. Altec Indus., Inc., No.

  6:14-cv-79, 2015 WL 993392, at *4 (E.D. Tex. Mar. 2, 2015) (granting Rule 12(b)(6) motion to

  dismiss based upon patent ineligibility under Section 101); Eclipse IP LLC v. McKinley Equip.

  Corp., No. SACV 14-742-GW(AJWx), 2014 WL 4407592, at *6 (C.D. Cal. Sept. 4, 2014)

  (same); Uniloc USA, Inc. v. Rackspace Hosting, Inc., 18 F. Supp. 3d 831, 834 (E.D. Tex. 2013)

  (same); UbiComm, LLC v. Zappos IP, Inc., No. 13-1029-RGA, 2013 WL 6019203, at *6 (D.

  Del. Nov. 13, 2013) (same)).

         In deciding patentability, a court need not review all claims, but only those that are

  representative of the claimed invention as a whole.         See Ultramercial, 772 F.3d at 712

  (reviewing only claim 1 as “representative” and noting that “the other claims of the patent are

  drawn to a similar process” and therefore “suffer from the same infirmity as claim 1 and need not

  be considered further”). Nor need the court formally construe the patent’s claims in order to

  decide patentability. See id. (“The district court granted WildTangent’s pre-answer motion to

  dismiss under Rule 12(b)(6) without formally construing the claims.”); see also id. at 714-15




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  (examining patentability “[w]ithout purporting to construe the claims”); Clear with Computers,

  2015 WL 993392, at *3 (“[T]he particular facts of this case indicate that claim construction is

  unnecessary.”); Genetic Techs. Ltd. v. Lab. Corp. of Am. Hldgs., No. 1201736-LPS-CJB, 2014

  WL 4379587, at *1 (D. Del. Sept. 3, 2014) (deciding Section 101 motion prior to claim

  construction is appropriate where no disputed areas of fact are relevant to motion). As one

  Federal Circuit judge has observed, “[p]atent eligibility issues can often be resolved without

  lengthy claim construction, and an early determination that the subject matter of asserted claims

  is patent ineligible can spare both litigants and courts years of needless litigation.” I/P Engine,

  Inc., v. AOL, Inc., 576 Fed. App’x 982, 996 (Fed. Cir. 2014) (Mayer, J., concurring).

  V.     ARGUMENT

         The Supreme Court employs a two-step process to determine whether a patent is directed

  to eligible subject matter. See Alice Corp. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355 (2014). The

  first step asks whether the patent’s claims are directed to patent-ineligible subject matter such as

  an abstract idea. Id. If so, the second step asks whether the patent’s claims contain any

  inventive step that takes the patent outside of the realm of the abstract. Id. As shown below, the

  ’221 Patent fails the Supreme Court’s test because its claims (1) are directed to an abstract

  idea—storing and delivering media content; and (2) do not contain any inventive concept that

  would otherwise prevent the claims’ monopolization of this abstract idea.

         A.      The Standard for Determining Eligible Patent Subject Matter

         Section 101 of the Patent Act defines the subject matter eligible for patent protection:

  “Whoever invents or discovers any new and useful process, machine, manufacture, or

  composition of matter, or any new and useful improvement thereof, may obtain a patent therefor,

  subject to the conditions and requirements of this title.” 35 U.S.C. § 101. The Supreme Court




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  has “long held that this provision contains an important implicit exception: Laws of nature,

  natural phenomena, and abstract ideas are not patentable.” Ass’n for Molecular Pathology v.

  Myriad Genetics, Inc., 133 S. Ct. 2107, 2116 (2013) (alterations and internal quotation marks

  omitted).   Animating this limitation is the Court’s concern is that laws of nature, natural

  phenomena, and abstract ideas serve as basic tools for all scientific and technological work and

  that “monopolization of those tools through the grant of a patent might tend to impede

  innovation more than it would tend to promote it.” Mayo Collaborative Servs. v. Prometheus

  Labs, Inc., 132 S. Ct. 1289, 1293 (2012).

         The Supreme Court has articulated a two-step framework for determining patentable

  subject matter. See Alice, 134 S. Ct. at 2355. First, a court must “determine whether the claims

  at issue are directed to one of those patent-ineligible concepts,” such as an abstract idea. Id.

  Second, if the claims are so directed, the court must then consider “the elements of each claim

  both individually and ‘as an ordered combination’ to determine whether the additional elements

  ‘transform the nature of the claim’ into a patent-eligible application.” Id. (quoting Mayo, 132 S.

  Ct. at 1297).    This second step searches for an “‘inventive concept’—i.e., an element or

  combination of elements that is ‘sufficient to ensure that the patent in practice amounts to

  significantly more than a patent upon the [ineligible concept] itself.’” Id. (alteration in original)

  (quoting Mayo, 132 S. Ct. at 1294).

         B.       Recent Case Law Concerning Attempts to Patent Abstract Ideas

         In recent years, the Supreme Court has strongly signaled that the federal courts should

  root out patents that are unworthy of the limited monopoly conferred by the patent laws,

  including so-called business-method patents that purport to cover basic practices in the

  commercial marketplace. In Bilski, the Court held that a patent directed to a “method for




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  hedging against the financial risk of price fluctuations” was invalid for claiming an abstract

  idea—namely the “fundamental economic practice” of hedging. Alice, 134 S. Ct. at 2355-56

  (citing Bilski v. Kappos, 561 U.S. 593, 611 (2010)). In Alice, the Court reviewed a patent that

  involved a “method of exchanging financial obligations between two parties using a third-party

  intermediary to mitigate settlement risk. Id. at 2356. The Court had little trouble concluding

  that, as with risk hedging, the concept of “intermediated settlement” is a fundamental economic

  practice that falls “squarely within the realm of ‘abstract ideas.’” Id. at 2357.

         Moving onto the second step, the Court stated that tying the idea of intermediated

  settlement to a computer could not supply the necessary inventive concept to save the patent.

  The Court observed that its cases “demonstrate that the mere recitation of a generic computer

  cannot transform a patent-ineligible abstract idea into a patent-eligible invention.” Id. at 2358.

  “Stating an abstract idea while adding the words ‘apply it with a computer’ simply combines

  those two steps, with the same deficient result.” Consequently, if a patent merely “implement[s]

  an abstract idea on a computer, that addition cannot impart patent eligibility.” Id. at 2358

  (citation, alterations, and internal quotation marks omitted).

         None of the things performed by computers in the Alice patent was sufficient to save it.

  For example, the Court held that the use of a computer to “create and maintain ‘shadow’

  accounts amounts to electronic recordkeeping,” performing “one of the most basic functions of a

  computer.” Id. at 2359. Similarly, “the use of a computer to obtain data, adjust account

  balances, and issue automated instructions” were all “well-understood, routine, conventional

  activit[ies]” in the computer industry. Id. As a result, “none of the hardware recited by the

  system claims offers a meaningful limitation beyond generally linking the use of the method to a




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  particular technological environment, that is, implementation via computers.”        Id. at 2360

  (alterations and internal quotation marks omitted).

         Several months after Alice, the Federal Circuit decided Ultramercial, Inc. v. Hulu, LLC,

  which involved a patent claiming “a method for distributing copyrighted media products over the

  Internet where the consumer receives a copyrighted media product at no cost in exchange for

  viewing an advertisement, and the advertiser pays for the copyrighted content.” 772 F.3d 709,

  712 (Fed. Cir. 2014). At step one of the Alice analysis, the court found that “[t]he process of

  receiving copyrighted media, selecting an ad, offering the media in exchange for watching the

  selected ad, displaying the ad, allowing the consumer access to the media, and receiving payment

  from the sponsor of the ad all describe an abstract idea, devoid of a concrete or tangible

  application.” Id. at 715.

         Moving on to step two of the Alice inquiry, the Federal Circuit found that the “[t]he

  majority of those [method] steps comprise the abstract concept of offering media content in

  exchange for viewing an advertisement,” and that appending “routine additional steps such as

  updating an activity log, requiring a request from the consumer to view the ad, restrictions on

  public access, and use of the Internet does not transform an otherwise abstract idea into patent-

  eligible subject matter.” Id. at 715-16. “Instead, the claimed sequence of steps comprises only

  conventional steps, specified at a high level of generality.” Id. at 716 (internal quotation marks

  omitted). In addition, the Federal Circuit held that merely applying an idea to the Internet—even

  where one is the first to do so—is insufficient where the underlying problem to be solved is not

  unique to the Internet. Id. Instead, to survive, claims must be “necessarily rooted in computer

  technology in order to overcome a problem specifically arising in the realm of computer

  networks.” DDR Holdings, LLC v. Hotels.com LP, 773 F.3d 1245, 1257-58 (Fed. Cir. 2014).




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         In the wake of Alice and Ultramercial, district courts around the country have rejected

  numerous patents directed to abstract methods and systems. See, e.g., OpenTV, Inc. v. Apple,

  Inc., No. 14-cv-01622-HSG, 2015 WL 1535328, *4 (N.D. Cal. Apr. 6, 2015) (patent claiming

  “use of identification codes to organize and transmit confidential information” held drawn to

  abstract idea); Advanced Auctions, LLC v. eBay Inc., No. 13CV1612 BEN (JLB), 2015 WL

  1415265, at *5 (S.D. Cal. Mar. 27, 2015) (“The patent itself describes implementing an existing

  abstract idea—an auction—refined for implementation on the Internet.”); Tenon & Groove, LLC

  v. Plusgrade S.E.C., No. 12-1118-GMS-SRF, 2015 WL 1133213, at *2 (D. Del. Mar. 11, 2015)

  (“computer-implemented method for concurrent optimization of value in a transaction between

  at least two entities” held an abstract idea); Essociate v. Clickbooth.com, LLC, No. SACV 13–

  01886–JVS (DFMx), 2015 WL 1428919, at *5 (C.D. Cal. Feb. 11, 2015) (“steps for how a

  merchant can gain access to customers from a referring entity without having to compete with

  other merchants for those same customers” held merely to describe abstract idea); In re TLI

  Commc’ns LLC Patent Litig., MDL No. 1:14md2534, 2015 WL 627858, at *8 (E.D. Va. Feb. 6,

  2015) (“[T]he ‘295 patent claims at issue are clearly directed to the abstract idea of taking,

  organizing, classifying, and storing photographs.”); Open Text S.A. v. Box, Inc., No. 13–cv–

  04910–JD, 2015 WL 269036, at *3 (N.D. Cal. Jan. 20, 2015) (“Shorn of its implementation-

  specific fleece, the claim is directed at providing a method for people to collaborate and share

  information without the need for specialized software or expertise.”); Synopsys v. Mentor

  Graphics Corp., No. C 12–6467 MMC, 2015 WL 269116, at *3 (N.D. Cal. Jan. 20, 2015)

  (“[T]he asserted claims are directed to the process of interference, which is fundamental to IC

  design and can be performed mentally.”); Bascom Research, LLC v. LinkedIn, Inc., No. 12–cv–

  06293–SI, 2015 WL 149480, at *8 (N.D. Cal. Jan. 5, 2015) (patent described “abstract idea of




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  creating, storing and using relationships between objects”); Morales v. Square, Inc., No. 5:13–

  cv–1092–DAE, 2014 WL 7396568, at *7 (W.D. Tex. Dec. 30, 2014) (“Claim 6 of the ‘589

  patent encompasses an abstract idea because it describes the fundamental concept of relaying a

  signal containing the sender’s identity.”).

         Two recent decisions in this district are particularly instructive. First, in Clear with

  Computers, LLC v. Dick’s Sporting Goods, Inc., 21 F. Supp. 3d 758 (E.D. Tex. 2014) (“Clear

  with Computers I”), 2 the Court reviewed a patent titled, “Inventory Sales System and Method,”

  claiming the following steps: “(1) receiving a product query, (2) determining the availability of

  products and associated options in inventory, (3) preparing a list of available options, and (4)

  presenting the list.” Clear with Computers I, 21 F. Supp. 3d at 761, 765. Judge Davis found that

  (1) the patent “involves the abstract idea of inventory-based selling,” and (2) the patent’s use of a

  “computer system with a configuration engine” did not meaningfully limit the claims as the steps

  “can be performed entirely by a human, mentally or with pencil and paper.” Id.

         Second, in Clear with Computers, LLC v. Altec Industries, Inc., No. 6:14-cv-79, 2015

  WL 993392 (E.D. Tex. Mar. 3, 2015) (“Clear with Computers II”), the Court reviewed a patent

  titled, “Electronic Proposal Preparation System for Selling Computer Equipment and Copy

  Machines,” claiming a “computer-implemented method to (1) present questions to, and receive

  answers from, a customer regarding products for sale; (2) based on at least one answer, select a

  picture of the product, a picture of the product environment, and a textual product description;

  and (3) put the pictures and text into a single visual output as part of a customized proposal for

  sale.” Clear with Computers II, 2015 WL 993392, at *4. Judge Gilstrap found that (1) the

  patent was drawn to the “abstract idea of creating a customized sales proposal for a customer,”

  2
     Clear with Computers I was decided before Alice and Ultramercial, but anticipates the
  analytical framework used in both cases.


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  and (2) the computerization of the patent’s steps added nothing because “[t]he steps performed

  by the claimed computer elements are functional in nature and could easily be performed by a

  human.” Id.

         Notably, in both Clear with Computers I and II, the Court invalidated the patents at the

  pleadings stage without conducting claim construction. See Clear with Computers I, 21 F. Supp.

  3d at 762, 764; Clear with Computers II, 2015 WL 993392 at *3. Here, as in Clear with

  Computers II, claim construction is unnecessary because “the claim language is relatively

  simple.” 2015 WL 993392, at *3.

         C.     The ’221 Patent Is Not Directed to Patent-Eligible Subject Matter.

                1.      The ’221 Patent Is Directed to an Abstract Idea.

         The ’221 Patent plows similar ground as the patent at issue in Ultramercial: It describes

  a method and system for storing and delivering media content. Plaintiff itself concedes the

  abstract nature of the ’221 claims when it alleges that the claims are drawn to (1) a “system for

  media content storage and delivery” and a “method for storing media content and delivering

  requested media content to a consumer device.” Comp., Dkt No. 1, ¶ 12; see also ’221 Patent,

  abstract (“A system, method, and device for media content storage and delivery.”).

         Independent claims 1 and 7, which are representative of the claimed invention, recite the

  following steps:

         (a)    Receiving messages from consumers requesting content;

         (b)    Confirming that the consumer is using a registered consumer device;

         (c)    Determining whether the consumer has sent a request for immediate delivery or
                for storage;

         (d)    Determining whether the requested content is available for either immediate
                delivery or storage;




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         (e)     Checking whether there are restrictions on delivery to the consumer device; and

         (f)     Delivering the content if available.

         These steps describe, at a high level of generality, a process for receiving a consumer

  request for an item, reviewing the request to determine whether it contains certain information,

  and delivering the requested item. This claims nothing more than the ubiquitous business

  practice of checking one’s inventory to see if an item requested by a customer is in stock. 3 None

  of this is unique to online media; indeed, these familiar practices are integral to every business
                                                                                 4
  that involves the selling of some kind of good, whether digital or physical. See, e.g., Clear with

  Computers I, 21 F. Supp. 3d at 765 (concept of “selling goods from inventory” is an abstract

  business idea).   The generic inventory-checking process claimed by Plaintiff is at least as
                                                                                                     5
  abstract, if not more so, than the advertising-supported media-delivery claims in Ultramercial or

  the inventory-based selling claims in Clear with Computers I (see 21 F. Supp. 3d at 765). And

  like the Ultramercial claims, the ’221 claims address a common business problem and are not


  3
     Similarly, the dependent claims mimic commonplace and common-sense business practices
  like telling a customer if an item is available or what its price is. See ’221 patent, claims 2, 8, 12.
  4
     It is not necessary at this step to determine whether the patent claims anything that departs
  from traditional business methods. See Ultramercial, 772 F.3d at 715 (“We do not agree with
  Ultramercial that the addition of merely novel or non-routine components to the claimed idea
  necessarily turns an abstraction into something concrete. In any event, any novelty in
  implementation of the idea is a factor to be considered only in the second step of the Alice
  analysis.”).
  5
      The steps of the Ultramercial patent are: “(1) receiving copyrighted media from a content
  provider; (2) selecting an ad after consulting an activity log to determine whether the ad has been
  played less than a certain number of times; (3) offering the media for sale on the Internet; (4)
  restricting public access to the media; (5) offering the media to the consumer in exchange for
  watching the selected ad; (6) receiving a request to view the ad from the consumer; (7)
  facilitating display of the ad; (8) allowing the consumer access to the media; (9) allowing the
  consumer access to the media if the ad is interactive; (10) updating the activity log; and (11)
  receiving payment from the sponsor of the ad. 772 F.3d at 714-15; see also id. at 712
  (reproducing full claim language).


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  “necessarily rooted in computer technology in order to overcome a problem specifically arising

  in the realm of computer networks.” DDR Holdings, 773 F.3d at 1257-58.

            Tellingly, all of the steps of the ’221 Patent could be performed by a video rental store

  clerk:

  Claim 7 Language 6                                  As Performed by a Human
  7. A method for storing media content and           A clerk at a video rental store:
  delivering requested media content to a
  consumer device, the method comprising:
   receiving a request message including media        Accepts requests from customers for videos,
   data indicating requested media content and a      wherein the requests contain certain
   consumer device identifier corresponding to        information including the title of the video,
   the consumer device;                               how long the customer wants to retain it, and
                                                      an identifier for the customer (e.g., the video
                                                      rental store’s membership card). 7
      determining whether the consumer device         Checks the customer’s membership card
      identifier corresponds to a registered          against a list of approved members without any
      consumer device; and                            late fees.
      if it is determined that the consumer device    If the clerk determines that the customer is on
      identifier corresponds to the registered        the list of approved members, then the clerk
      consumer device, then:                          will determine whether the customer is asking
                                                      for a video that is available for rental now or to
       determining, whether the request message is    back-order a video that isn’t on the shelves.
       one of a storage request message and a
       content request message; and

      if the request message is the storage request   If the customer wants to back-order a video,
      message, then determining whether the           the clerk will check a list of videos from the
      requested media content is available for        company’s warehouse to see if the video can
      storage; and                                    be back-ordered.


  6
      For simplicity, only the method claim is analyzed here, but the analysis for the corresponding
  system claim would yield the same result. Also, the corresponding system claim is linked to and
  falls with the method claim. To allow the system claim, while invalidating the method claim,
  would permit applicants to preempt abstract ideas by the mere use of patent-drafting
  conventions. See Alice, 134 S. Ct. at 2360 (“This Court has long warn[ed] . . . against
  interpreting § 101 in ways that make patent eligibility depend simply on the draftsman’s art.”
  (alterations in original) (quoting Mayo, 132 S. Ct. at 1294) (internal quotation marks omitted)).
  7    For the purposes of a Section 101 inquiry (but not for infringement or other defenses),
  checking to see whether a consumer is using a registered device (as the claim requires) is an idea
  at the same level of abstraction as checking to see whether a consumer has a membership.


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   if the request message is the content request    If the customer wants a video that is in stock,
   message, then initiating delivery of the         then the clerk will give the video to the
   requested media content to the consumer          customer for rental.
   device;
   wherein the media data includes time data      The clerk is able to receive information from
   that indicates a length of time to store the   customers about how long they would like the
   requested media content; and                   store to stock the video before returning it to
                                                  the warehouse.
   the first processor is further configured to   The clerk checks the shelves of the store and
   determine whether the requested media          the list of warehoused videos to see if the video
   content exists; and                            rental store has the video anywhere.
   if the processor determines that the requested If the clerk sees that the video rental store has
   media content exists, the processor is further the video somewhere, the clerk will determine
   configured to determine whether the            whether the video is available and whether
   requested media content is available and       there are any restrictions on the membership
   whether there are restrictions associated with that would preclude the rental of the video to
   the requested media content that prevent the   the customer (e.g., no restricted movies for
   requested media content from being delivered members under 17; no rentals to customers
   to the consumer device.                        who have not paid late fees).

         That a human being can perform all of the claim limitations confirms that the ’221 claims

  are drawn to an abstract idea. See, e.g., Clear with Computers I, 21 F. Supp. 3d at 767 (“[A]

  store clerk, armed with only a pencil and paper, can receive a question about men’s basketball

  sneakers, determine the options available (color, brand, size, etc.) and the availability of those

  options in inventory, prepare a list of those available options, and present that list to the

  customer.”); Clear with Computers II, 2015 WL 993392, at *4 (“The claims essentially propose

  that, instead of a human salesman asking customers about their preferences and then creating a

  brochure from a binder of product pictures and text and using a rolodex to store customer

  information, a generic computer can perform those functions.”); OpenTV, Inc., 2015 WL

  1535328, at *4 (considering whether claims can be “performed in the human mind[] or by a

  human using pen and paper” to determine whether they are directed to abstract ideas) (quoting

  CyberSource Corp. v. Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011)).




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         Accordingly, the claims of the ’221 Patent are directed to an abstract idea—the idea of

  storing and delivering media content.

                 2.      The ’221 Claims Supply No Inventive Step That Would Transform
                         Them into Patent-Eligible Claims.

         As demonstrated above, the ’221 claims are drawn to the abstract idea of storing and

  delivering media content—the equivalent of checking to see if a video is available for a

  customer. The claim language does not “do significantly more than simply describe that abstract

  method.”    Ultramercial, 772 F.3d at 715.       The claim elements do not, individually or in

  combination, require anything but a general-purpose computer to perform the various steps and

  “add nothing of practical significance to the underlying abstract idea.” Id. at 716.

         Individually, each step of the claims of the ’221 Patent merely describes a component of

  the abstract idea—checking to see if content is available—with the instruction that the step be

  performed by a generic computer. But “adding the words ‘apply it with a computer’ simply

  combines those two steps, with the same deficient result.”               Alice, 134 S. Ct. at 2350;

  Ultramercial, 772 F.3d at 715 (claims that “simply instruct the practitioner to implement the

  abstract idea with routine, conventional activity” held insufficient).

         The ’221 Patent’s computerized steps—receiving input (receiving the consumer request

  for media content), sorting information (determining whether the request is one for media

  content or media storage), checking information against a list or database (determining whether a

  consumer device identifier is linked to a registered consumer device), and providing output

  (delivering requested media content to a consumer)—all describe well-known computer

  functions. See Alice, 134 S. Ct. at 2359 (using a computer to “obtain data, adjust account

  balances, and issue automated instructions” all involve “well-understood, routine, conventional

  activities previously known to the industry”); Ultramercial, 772 F.3d at 716 (“[R]outine



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  additional steps such as updating an activity log, requiring a request from the consumer to view

  the ad, restrictions on public access, and use of the Internet does not transform an otherwise

  abstract idea into patent-eligible subject matter.”); buySAFE, Inc. v. Google, Inc., 765 F.3d 1350,

  1355 (Fed. Cir. 2014) (“The computer functionality is generic—indeed, quite limited: a

  computer receives a request for a guarantee and transmits an offer of guarantee in return.”);

  Content Extraction & Transmission LLC v. Wells Fargo Bank, N.A., 776 F.3d 1343, 1349 (Fed.

  Cir. 2014) (“[D]etecting the presence of a particular one of said defined set of symbols on a hard

  copy document” merely described “generic optical character recognition technology.”);

  CyberSource Corp., 654 F.3d at 1370 (holding “mere collection and organization of data”

  insufficient). Consequently, all of the computer components listed by the ’221 claims are

  “purely functional and generic.” Alice, 134 S. Ct. at 2360 (“Nearly every computer will include

  a ‘communications controller’ and ‘data storage unit’ capable of performing the basic

  calculation, storage, and transmission functions required by the method claims.”). 8

         Nor does the ordered combination of the steps of the ’221 Patent add anything because

  their sequence—“obtaining, separating, and then sending information”—“follow[s] from the

  underlying idea of categorical information storage [and delivery].” Cyberfone Sys., LLC v. CNN

  Interactive Grp., Inc., 558 Fed. App’x 988, 993 (Fed. Cir. 2014). Indeed, there is no other way

  to logically perform the invention other than in the sequence recited in its claims: One obviously




  8
    The ’221 Patent itself confirms that the claimed invention can be realized using “[a]ny kind of
  computing system” and that a “typical” implementation will not require anything more than a
  “general purpose computer system.” ’221 Patent, 10:12-19 (emphases added). Further, because
  the ’221 claims are “not tied to any particular novel machine or apparatus, [but] only a general
  purpose computer,” they also fail the Federal Circuit’s pre-Alice machine-or-transformation test.
  See Ultramercial, 772 F.3d at 716. While passing this test is no longer conclusive, failing it
  confirms that a patent is directed to unpatentable subject matter. See id. at 717.


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  must receive a consumer request for an item before checking to see if it is available, and one

  must check on availability before delivering the item.

         Finally, the ’221 Patent’s purported limitation to online media places no meaningful

  limitation on its abstract idea. The ’221 claims merely invoke the Internet and on-demand media

  generally to take advantage of “[t]he widespread growth of communication networks and internet

  enabled consumer devices allow[ing] consumers to stream on-demand videos and music.” ’221

  Patent 1:31-33. Any such attempt to limit the covered systems to a “particular technological

  environment” is insufficient to confer patentability. Alice, 134 S. Ct. at 2350; Ultramercial, 772

  F.3d at 716 (“[T]he use of the Internet is not sufficient to save otherwise abstract claims from

  ineligibility.”); buySAFE, Inc., 765 F.3d at 1355 (“That a computer receives and sends the

  information over a network—with no further specification—is not even arguably inventive.”).

  Moreover, as the patent itself acknowledges, on-demand streaming via the Internet was

  widespread long before the patent. See ’221 Patent 1:31-2:16.

         In sum, the ’221 Patent’s claims add “no meaningful limitations to convert the abstract

  idea into patent-eligible subject matter.” Ultramercial, 772 F.3d at 714.

  VI.    CONCLUSION

         As shown above, the claims of the asserted ’221 Patent are directed to an abstract idea

  and are ineligible for patent protection pursuant to 35 U.S.C. § 101. Accordingly, Vimeo

  respectfully requests that this Court dismiss Plaintiff’s complaint for patent infringement with

  prejudice.




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                                 CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who have consented to electronic service are
 being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
 5(a)(3) on this the 15th day of May, 2015.

                                             /s/ Jennifer H. Doan
                                             Jennifer H. Doan




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